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AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case (NOTE: Identify Changes with Asterisks (*))

Sheet |

UNITED STATES DISTRICT COURT
Western District of Washington

UNITED STATES OF AMERICA AMENDED JUDGMENT IN A CRIMINAL CASE

Vv.

ROMAN SELEZNEV Case Number: 2:11CROO070RAJ-001

USM Number: 04385-093

Igor Litvak
Defendant’s Attorney

4/21/2017

Date of Original Judgment:
(Or Date of Last Amended Judgnient)

Reason for Amendment:
(J Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))
(J Reduction of Sentence for Changed Circumstances (Fed, R. Crim.

P. 35(b))
[) Correction of Sentence by Sentencing Court (Fed. R. Crim, P, 35(a))

ow Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)

U1 Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
(-] Modification of Imposed Term of Imprisonment for Extraordinary and
Compelling Reasons (18 U.S.C, § 3582(c)(1))
(] Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2)) :
C1 Direct Motion to District Court Pursuant CL] 28 USC. § 2255 or
( 18 U.S.C. § 3559(c)(7)
LJ Modification of Restitution Order (18 U.S.C. § 3664)
i

Ne ee Ne ee se PR BEF

THE DEFENDANT:

 

C pleaded guilty to count(s)

 

1 pleaded nolo contendere to count(s)
which was accepted by the court.
1-10, 12-19, 21-29, 30-38, and 39-40

 

wf was found guilty on count(s)

after a plea of not guilty.
The defendant is adjudicated guilty of these offenses: ;
_ Title & Section ___ Nature of Offense Offense Ended _ Count —
(8U.S.C°§1343- | Wire Fraud mipi2014 A os a0
18 U.S.C. §1030(a)(5) Intentional Damage to a Computer 7/5/2014 12-19
8103 Sees 2 gees ERs es: a | 7/5/2014 eh | 24-29

18 U.S.C.§1030(c)(4)(B) | Se
The defendant is sentenced as provided in pages 2 throughi 5
the Sentencing Reform Act of 1984. ‘
(vf The defendant has been found not guilty on count(s) 17 and 20
LJ Count(s) Of is (are dismissed on the motion of the United States.

_, Itis ordered that the defendant must notify the United States Attorney for this district within 30 da sof any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

4/21/20"

17 Cy
Daté of Iphpositjon of Ju 4 ,

Signature of Judge U,
Honorable Richard A. Jones U.S. District Judge

Name and Title of Judge
Vee, (2 2013

Date

of this judgment. The sentence is imposed pursuant to

 

 

 
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AO 245€ (Rev. 11/16) Amended Judgment in a Criminal Case
Sheet 1A (NOTE: Identify Changes with Asterisks (*))
Judgment — Page 2 of 5

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CRO0070RAJ-001

ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense __oifense Ended — Count
| 18 U.S.C. §1030 I , Obtaining Information from a Protected Computer ‘ | 71512014 ft a1 -29
18 U. S. Cc. §1029(a)(3 3) Access Device Fraud 7/5/2014 30- 38
48 USC. g1028A(a)!) ' Aggravated Identity Te SEES 752044: 39-40
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AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case
Sheet 2— Imprisonment (NOTE: Identify Changes with Asterisks (*))
Judgment— Page 3 _ of 5

DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CRO0070RAJ-001

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a

total term of :

As to each of Counts 1-10, the defendant shall be commilted to the custody of the United Stales Bureau of Prisons for a {arm of 300 months (26 years) to be run concurrenlly with one another, and also concurrently wilh all
other counts, except for counts 39 and 40, which must run consecutively. As lo each of Counts 12-19 and 30-38, the defendant shall be commilted to the custody of the Uniled Stales Bureau of Prisons fora term of 120
months. The sénlences on these counts shall run concurrently with one another, and also concurrently with all other counts, except for counts 39 and 40, which must mun consecullvely, As lo each of Counts 21-29, the
defendant shall be commilted to the custody of the United States Bureau of Prisons for a term of 60 months. These sentences shall mn concurrently with one another and concurrenlly wilh all other counts, except for counts 39
and 40, which must run consecutively. As to each of Counts 39 and 40, ihe defendant shall bs committed to the custody of {ha United States Bureau of Prisons for a term of 24 months. These terms shall run concurrently wilh
one another, but the 24-month sentence on Counts 39 and 40 win run conseculively, as required by statute, (o the 300-month lerm of imprisonment on all other counts. The total term of imprisonment Is 324 months (27 years).

11 =‘ The court makes the following recommendations to the Bureau of Prisons:

™M The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
Ol sat O am. O p.m. on

O_asnotified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

1 before 2 p.m. on

 

1 as notified by the United States Marshal.

1] as notified by the Probation or Pretrial Services Office.
‘

RETURN

Ihave executed this judgment as follows:

to

 

Defendant delivered on

at with a certified copy of this judgment. .

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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AO 245C (Rev. 11/16) Amended Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties . (NOTE: Identify Changes with Asterisks (*))
Judgment — Page 4 of 5

DEFENDANT: ROMAN SELEZNEV

CASE NUMBER: 2:11CRO0070RAJ-001
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 3,800.00 $ 0.00 $ 0.00 $ 1469,191,973.25

C)_ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AQ 245C) will be

entered after such determination.
(0 The defendant shall make restitution (including community restitution) to the following payces in the amount listed below.

If the defendant makes a partial payment, each paves shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 5664(1 , all nonfederal victims must be paid

before the United States is paid.

Name of Payee Total Loss** Restitution Ordered Priority or Percentage

“SeealtachedListofPayess =» (ss —tit«S AZ. $501,129.71 | See

and

“Payees Listed on Dkt.484( (Ss«$ 169,418, 843.54 $169,418,843.64 | 3
: | \ ‘

TOTALS $ 169,919,973.25 $ 169,919,973.25

(‘Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject

to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
(| The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
WW the interest requirement is waived for [] fine wm restitution.

0 the interest requirement forthe (] fine (1 restitution is modified as follows:

* Justice for Victims ot Trafficking Act of 2015, Pub. L. No. 114-22. ; .
** Findings for the total amount of losses are equines under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or

after September 13, 1994, but before April 23, 1
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AO 245C (Rev. L1/16) Amended Judgment in a Criminal Case .

Sheet 6 — Schedule of Payments (NOTE: Identify Changes with Asterisks (*))
Judgment— Page 5 oof 5
DEFENDANT: ROMAN SELEZNEV
CASE NUMBER: 2:11CRO0070RAJ-001

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A wf Lump sum payment of $ 169,919,973.25 due immediately, balance due

(1 not later than , or
inaccordance with [] C, (J D, [ E,or mf F below; or

OO Payment to begin immediately (may be combined with [1 C OC) D,or ( F below); or

(e.g., weekly, monthly, quarterly) installments of $ over a period of

C (Payment in equal
(e.g., 30 or 60 days) after the date of this judgment; or

(e.g., months or years), to commence

(e.g., weekly, monthly, quarterly) installments of $ over a period of

D [( Payment in equal
(e.g., 30 or 60 days) after release from imprisonment to a

(e.g., months or years), to commence
term of supervision; or

E ( Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F {J Special instructions regarding the payment of criminal monetary penalties:

During the period of imprisonment, no less than 25% of their inmate gross monthly income or $25.00 per quarter,
whichever is greater, to be collected and disbursed in accordance with the Inmate Financial Responsibility Program.
During the period of supervised release, in monthly installments amounting to not less than 10% of the defendant's gross

monthly household income, to commence 30 days after release from imprisonment.
Any unpaid amount shall be paid to Clerk's Office, United States District Court, 700 Stewart Street, Seattle, WA 98101.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1 Joint and Several
Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,

and corresponding payee, if appropriate.

The defendant shall pay the cost of prosecution.

The defendant shall pay the following court cost(s):

O

(1 The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the wollgniae orien (1) assessment, @) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) A assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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United States v. Roman Seleznev
Victim Restitution Amounts
per Victim Financial Loss Restitution Statements

 

 

 

 

A 8 Cc D
Restitution
Impact | Restitution Amount
1 Victim Statement | Statement | Requested
City Newsstand
4018 N Cicero Ave
2 |Chicagoe, IL 60641 yes yes $20,991.25
CJ Saretto
5255 Reeder School Rd
3 |Greenbrier TN 37073 yes | yes $20,580.00

 

Double D Market & Catering
2595 County Road 516

4 |Old Bridge, NJ 08857 no yes $12,128.11
Fighting Burrito
[PO Box 1336
Ames, IA 50014 no yes $5,995.00
Foley Fuel &
Lumber Company
240 Main Street
Box 157

6 |Foley, MN56329 yes yes $10,399.88
G's Pizza

200 West Houghton Avenue
7 |West Branch, MI 48661 no yes $6,000.00
Grand Central Baking
2249 NW York Street
8 |Portland, OR 97210 . no yes $6,575.00
Huston Zoo
1513 Cambridge
9 |Houston, TX 77030 yes yes $266,163.00
Mountain Mike's Pizza
11974 Highway 88,
Suite 2082

10 |Jackson, CA 95642 yes yes $7,000.00
Pasta Factory

2 West Street St George Blvd.
#8

11 |St. George, UT 84770 yes yes $14,806,76
Shaka Sandwich & Pizza Inc.
1770 S. Kihei Road

 

uw

 

 

 

 

 

 

 

 

12 |Kihei, HI 96753 yes yes $23,006.34
Tiffany's Pizza
PO Box 24

13 |Carleton, MI 48117 no yes $13,500.00

 

University Book Exchange, Inc
516 S Cotanche Stree

 

 

 

 

 

14 |Greenville, NC 27858 yes yes $43,214.37
Village Idiot Pizza ;
2009 Devine Street
15 |Columbia, SC 29205 yes yes $18,800.00
Zpizza Corp.
909 Canyon View Drive
16 |Laguna Beach, CA 92651 yes yes $31,970.00
7 TOTAL $501,129.71
18
19

 

 

 

 

 

 

 

 

CR 11-00070-RAJ
